 

Case 3:20-cv-00037-GEC Document17 Filed 08/19/20 Page1of5 Pageid#: 78

CLERK'S OFFICE U.S. DIST. COURT
AT CHARLOTTESVILE, VA
FILED

IN THE UNITED STATES DISTRICT COURT AUG 19 2020
FOR THE WESTERN DISTRICT OF VIRGINIA = JUNAG.RY Ea

Charlottesville Division

JOSEPH DRAEGO,

Plaintiff,

Appearing Pro Se Civil Action No. 3:20-cv-37

 

RaShall M. Brackney, Chief of Police for the
City of Charlottesville;

Joseph D. Platania, Commonwealth’s Attorney
For the City of Charlottesville.

Defendants.

 
 

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STATEMENT OF PRO SE PLAINTIFF JOSEPH DRAEGO
IN RESPONSE TO DEFENDANTS’ RESPECTIVE MOTIONS TO DISMISS

I offer this statement in hopes the Court will not dismiss my Complaint without a hearing during —

which I can speak directly to the Court. In support of this request I offer the following quote by
the late Supreme Court Justice Felix Frankenfurter. “The heart of the matter is that democracy
implies respect for the elementary rights of men, however suspect or unworthy; a democratic
government must therefore practice fairness; and fairness can rarely be obtained by secret, one-
sided determination of facts decisive of rights." Anti-Fascist Committee v. McGrath, 341 U.S.
123, 170 (1951) (Frankfurter, J. concurring).

Only by addressing the Court directly do I believe I can fully express why I believe I
should have standing to challenge Virginia’s so-called “Red Flag Laws” because of their
“chilling” of my Second Amendment rights and my right of free speech under the First

Amendment. As Justice Thurgood Marshall wrote on how the threat of punishing speech often can
be as effective in silencing speech than actual punishment, “the value of a sword of Damocies is that

it hangs -- not that it drops.’ Arnett v. Kennedy, 416 U.S. 134, 231 (1974) (Marshall, J. dissenting).
That there are some in the Charlottesville community that will use the Red Flag Laws to punish
me for my political expression is not speculation. As a result of speaking during the public
comment session of Charlottesville City Council on June 20, 2016 opposing --not all Muslim
immigration, but unchecked Muslim immigration, flyers around the city were posted calling me
a “local Nazi” who “is best known for ... spewing anti-Muslim hate speech, is a close associate
of Jason Kessler” [I am not] and stating I am “a known open and concealed firearm career.”
Only by speaking to the Court directly can I fully express how it makes one feels to know that

my family and friends see such flyers. Others have made connections between my political views
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and my gun ownership. In a comment on Facebook on February 4, 2018, one individual
described me as an “avowed Islamophobe” and highlighted the fact that I carried guns. In the
aftermath of the Commonwealth enacting its “Red Flag Laws” I have refrained from engaging in
speech that may make the subject of an emergency substantial risk order or substantial risk order.

~ Tagree with the late Supreme Court Justice William Brennan that “[i]f there is a bedrock -- ---~
principle underlying the First Amendment, it is that the government may not prohibit the
expression of an idea simply because society finds the idea itself offensive or disagreeable.”
Texas v. Johnson, 491 U.S. 397, 414 (1989). 1 believe Virginia’s laws pose such a prohibition, by
allowing some who oppose my political views and gun ownership the means to refrain from
exercising my First and Second Amendment rights.. This law allows those who oppose gun
ownership and who disagree with my political views to initiate state enforcement actions that
will could potentially strip me of my constitutional rights, if even but for a temporary period of
time. . If this law stands, my only recourse is to silence myself. This forced choice between
either self-censorship or losing other valuable rights—merely because a majority of other
citizens find my political speech offensive—is the very “hallmark of an authoritarian regime.”
Ginzberg v. United States, 383 U.S. 463 (1966) (Steward, J., dissenting). Because of the
importance of these constitutional principles, I ask the Court to allow me to make my case in
person.

Lastly, I read that there are essentially two antithetical philosophies concerning

American jurisprudence. The three lawyers that oppose me appear to take the side of the
positivists. This philosophy upholds that only judges and government will decide what is |

relevant legal! principle, and only they have the right to govern the outcome of a dispute. They
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argue for process and appearance. They promote the notion that only they have a say about what
should be heard. Conversely, | champion the naturalist philosophy of jurisprudence, which
elevates principle and spirit above rote process. Rote process can inadvertently convolute
justice. Naturalist jurisprudence rightly includes individual morality, individual human reason
and individual conscience, all of which mirror the rights enshrined in our sacred laws.

The Constitution and Bill of Rights are deeply spiritual documents that advance the cause
of humanity and the rights of the individual. I am an individual, I am an American, and I am

petitioning my Government for a redress of grievances.

Respectfully submitted

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Joseph Draego

 

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CERTIFICATE OF SERVICE

I, Joseph Draego, Pro Se Plaintiff in this matter, do hereby certify that the copies of
the foregoing

STATEMENT OF PRO SE PLAINTIFF JOSEPH DRAEGO
IN RESPONSE TO DEFENDANTS’ RESPECTIVE MOTIONS TO DISMISS

 

were sent email and mailed via the U.S. Postal Service, first-class postage prepaid, to
the persons and addresses below, on August 19, 2020.

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Respectfully submitted,

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